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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
Vv. 23-MJ-5219
HOWARD HINKLE, JR.,

Defendant.

NOTICE OF MOTION AND MOTION FOR STAY AND REVOCATION OF
MAGISTRATE JUDGE’S DETERMINATION ON DETENTION

The United States of America by and through its attorney, Trini E. Ross, United States
Attorney for the Western District of New York, and Joseph M. Tripi, Nicholas T. Cooper,
and Casey L. Chalbeck, Assistant United States Attorneys, of counsel, pursuant to Title 18,
United State Code, Section 3145(a)(1), hereby files a Motion with the United States District
Court in the Western District of New York, the Honorable John L. Sinatra presiding, for an
Order revoking the Decision and Order entered by Magistrate Judge Michael J. Roemer on
October 26, 2023; and the government further moves for an Order staying said Order of the
magistrate judge until such time as the Court can hear and determine the government’s

motion for review of the magistrate judge’s determination on detention.

IN SUPPORT THEREOF, the government sets forth a memorandum, incorporated

herein by reference.
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WHEREFORE, it is respectfully requested that the Court (1) stay the order of the
magistrate judge releasing the defendant until such time as the District Court can hear and
determine this motion; and (2) revoke Magistrate Judge Michael J. Roemer’s October 24,

2023, release order.

DATED: Buffalo, New York, October 27, 2023.

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United States Attorney

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

v. 23-MJ-5219
HOWARD HINKLE, JR.,

Defendant.

GOVERNMENT’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO
REVOKE THE MAGISTRATE JUDGE’S DECISION AND ORDER

The United States of America by and through its attorneys, Trini E. Ross, United
States Attorney for the Western District of New York, and Joseph M. Tripi, Nicholas T.
Cooper, and Casey L. Chalbeck, Assistant United States Attorneys, of counsel, hereby file
this Memorandum of Law in Support of its Motion to Revoke the Magistrate Judge’s
Decision and Order.

I. INTRODUCTION AND BACKGROUND

This case is related to the investigation into the death of a federal witness who was
scheduled to testify in an upcoming trial—and who died under highly suspicious
circumstances.' Pursuant to a federal search warrant, at approximately 6:00 a.m. on
October 24, 2023, the Federal Bureau of Investigation (“FBI”) conducted a search of
Howard Hinkle, Jr.’s residence at 4290 Donovan Road, Alma, New York. Owing to the

FBI’s (well-founded) concerns that Mr. Hinkle would be armed and dangerous, an FBI

t As the government has emphasized in other cases, the investigation is
ongoing. See Redacted Govt’s Sur-Reply to Def.’s Mem. of Law in Further Support of Mot.
for Pre-Trial Release at 16 n.7, 1:19-CR-227-LJV, ECF No. 642, (filed Oct. 10, 2023).
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Special Weapons and Tactics (“SWAT”) team was engaged to “clear” Mr. Hinkle’s
residence. Mr. Hinkle initially failed to follow the SWAT team’s instructions and acted in a
manner consistent with that of someone contemplating an armed standoff with the FBI.
When Mr. Hinkle, a violent felon, finally surrendered, the SWAT team discovered 19
firearms—some of which were loaded—throughout the house, a proliferation of
ammunition, a large storage container full of marijuana, over 130 marijuana plants, and
other evidence of criminal activity.

A four-count Complaint followed. Specifically, Mr. Hinkle is charged with the
following offenses: (1) unlawfully possessing a firearm in violation of 18 U.S.C. § 922(g)(1);
(2) maintaining a drug involved premises in violation of 21 U.S.C. § 856; (3) possession of
marijuana with intent to distribute and 100 or more marijuana plants in violation of 21
U.S.C. § 841(a)(1) and (b)(1)(B)(vil); and (4) possessing a firearm in furtherance of drug
trafficking crimes in violation of 18 U.S.C. § 924(c)(1)(A).

On October 25, 2023, United States Magistrate Judge Michael J. Roemer (“Judge
Roemer’) presided over Mr. Hinkle’s Initial Appearance. The government requested a
three-day continuance. Judge Roemer re-scheduled the detention hearing for the next day,
October 26, 2023. Following the government’s proffer and oral argument, Judge Roemer
ordered Mr. Hinkle’s release on conditions.2 Judge Roemer then granted a stay—

specifically, a 24-hour stay—pending this Court’s review.

2 Judge Roemer largely agreed with the U.S. Probation Office’s recommended
conditions, but added a location restriction program, i.e., home incarceration, and location
monitoring. Judge Roemer declined the government’s request that Mr. Hinkle be prohibited
from contacting or cohabitating with his co-defendant and girlfriend, Dillon Anderson. See
Tran. Det. Hr’g at 31, United States v. Hinkle, 1:23-MJ-5219 (W.D.N.Y. Oct. 26, 2023).
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This Court should reverse. There are no conditions—including those set by the
Magistrate Court—that can assure the safety of the community or Mr. Hinkle’s appearance
at trial.

II. STANDARD OF REVIEW

Review of a magistrate judge’s release order is de novo. “[W]here a defendant is
ordered released by a magistrate judge, the government may, under 18 U.S.C. § 3145(a)(1),
move for revocation of the release order before the district court. Upon such motion, the
district court must perform a de novo review of the magistrate judge’s release order.” United
States v. Boorman, 130 F. Supp. 2d 394, 398 (W.D.N.Y. 2001) (citing United States v. Leon,
766 F.2d 77, 80 (2d Cir.1985)). Under that standard, the district owes no deference to the
magistrate judge’s decision but, rather, must “reach its own independent conclusion.” Leon,
766 F.2d at 80; see also United States v. Colombo, 777 F.2d 96, 100 (2d Cir. 1985). Moreover,
the reviewing district court is not limited to the record made within the magistrate court.
Instead, the Court may take additional evidence or conduct a new evidentiary hearing
altogether. See Boorman, 130 F. Supp. 2d at 398 (“When making its de novo review, the
district court may rely on the record of the proceedings before the magistrate judge and may
also accept additional evidence.”); see also Colombo, 777 F.2d at 98.

Tl. LEGAL FRAMEWORK

Section 3142 of Title 18, enacted as part of the Bail Reform Act of 1984, see 18
U.S.C. §§ 3141-3156 (“Bail Reform Act”), requires that an accused be detained pending
trial where, following a hearing in accordance with § 3142(f), “the judicial officer finds that

no condition or combination of conditions will reasonably assure the appearance of the
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person as required and the safety of any other person and the community.” 18 U.S.C. §
3142(e)(1).

Subsection (e) of § 3142 provides that there is a rebuttable presumption that “no
condition or combination of conditions will reasonably assure” against flight or danger
where probable cause supports a finding that the person seeking bail committed certain
types of offenses, including “an offense for which a maximum term of imprisonment of ten
years or more is prescribed in the Controlled Substances Act (21 U.S.C. 801 et seq.),” 18
U.S.C. § 3142(e)(3)(A), or “an offense under [18 U.S.C. §] 924(c),” id. § 3142(e)(3)B).
Where there is such a presumption, the defendant “bears a limited burden of production—
not a burden of persuasion—to rebut that presumption by coming forward with evidence
that he does not pose a danger to the community or a risk of flight.” United States v.
Mercedes, 254 F.3d 433, 436 (2d Cir. 2001). Notably, even if a defendant carries this burden
of production, the significance of the presumption does not disappear. Rather, “it ‘remains
a factor to be considered among those weighed by the district court.’” United States v.
English, 629 F.3d 311, 319 (2d Cir. 2011) (quoting Mercedes, 254 F.3d at 436)).

The factors that the judicial officer must consider “in determining whether there are
conditions of release that will reasonably assure the appearance of the person as required
and the safety of any other person and the community,” include “the nature and
circumstances of the offense charged, including whether the offense is a crime of violence,”
or involves a firearm; “the weight of the evidence against the person”; “the history and
characteristics of the person,” including his “physical and mental condition, family ties,

employment, financial resources, length of residence in the community, community ties,
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past conduct, history relating to drug or alcohol abuse, criminal history, and record
concerning appearance at court proceedings”; and “the nature and seriousness of the danger
to any person or the community that would be posed by the person's release.” 18 U.S.C. §
3142(g). Importantly, the same factors are to be considered in determining “whether the
presumptions of dangerousness and flight are rebutted.” Mercedes, 254 F.3d at 436.

Finally, “[t]he facts the judicial officer uses to support a finding pursuant to
subsection (e) that no condition or combination of conditions will reasonably assure the
safety of any other person and the community shall be supported by clear and convincing
evidence.” Id. § 3142(f)(2); see also United States v. Chimurenga, 760 F.2d 400, 403 (2d Cir.
1985) (noting that the government ““has the burden of establishing defendant’s
dangerousness by clear and convincing evidence”). That burden relaxes, however, where
the government moves for detention based upon a risk of flight. Under those circumstances,
the government need only establish by a preponderance of the evidence that the defendant
“if released, presents an actual risk of flight.” United States v. Sabhnani, 493 F.3d 63, 75 (2d.
Cir. 2007) (citation omitted).

IV. ARGUMENT

Mr. Hinkle should be detained. For starters, he cannot carry his limited burden to
rebut the presumption that “no condition or combination of conditions will reasonably
assure” against danger or flight. § 3142(e). But, respective of the presumption, the
government can show by clear and convincing evidence that no condition or combination of
conditions can reasonably assure the safety of the community upon his release. And,

likewise, it can show by the preponderance of the evidence that Mr. Hinkle presents a flight
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risk.? Finally, though the U.S. Probation Office has recommended release, the government
notes that the factors guiding USPO’s evaluation of dangerousness and risk of flight do not
mirror those mandated by Bail Reform Act.

A. Under the Bail Reform Act, Detention is Presumed, and Mr. Hinkle
Cannot Rebut That Presumption

Mr. Hinkle cannot overcome the Bail Reform Act’s presumptions under 18 U.S.C. §§
3142(e)(3)(A) and (e)(3)(B) that no condition or combination of conditions will reasonably
assure the safety of the community and his appearance if he is released.

By way of background, those presumptions are triggered in three respects. First, Mr.
Hinkle’s drug-distribution charge triggers the statutory presumption under § 3142(e)(3)(A)
because the maximum term of imprisonment is 40 years. See id. § 3142(e)(3)(A) (providing
that the presumption applies to “an offense for which a maximum term of imprisonment of
ten years or more is prescribed in the Controlled Substances Act”); 21 U.S.C. §§ 841(a)(1),
(b)(1)(B)(vii) (providing a 5-year mandatory minimum and 40-year maximum term of
imprison possessing with intent to distribute 100 or more marijuana plants). Second, even if
Mr. Hinkle were not charged with drug distribution, he is charged with maintaining a drug-
involved premises, which carries a maximum term of imprisonment of twenty years. And,

third, the presumption articulated in § 3142(e)(3)(B) independently flows from his charge

3 Although the evidence presented at the detention hearing was not as extensive
as the information that follows—primarily due to the fact that the information presented
should have been sufficient to warrant detention and evidence of Mr. Hinkle’s risk of flight
and dangerousness continues to come in as evidence of the search is processed—the
government now sets forth further basis for the defendant’s detention. As the law allows,
the Government asks the Court to consider this additional evidence in support of its motion.
See United States v. Boorman, 130 F. Supp. 2d 394, 398 (W.D.N-Y. 2001) (holding the court
may consider additional evidence beyond what was presented at a detention hearing when
reviewing a release order).
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under 18 U.S.C. § 924(c)(1)(A)). See § 3142(e)(3)(B) (providing that an offense under §
924(c) triggers the statutory presumption).

Mr. Hinkle’s arguments to overcome the presumption are unavailing. During the
October 26, 2023, detention hearmg, Mr. Hinkle principally relied on his close ties to
Wellsville, New York to rebut the presumption in favor of detention and claimed that the
massive quantities of marijuana were intended for personal consumption. Neither
contention constitutes “evidence that he does not pose a danger to the community,” and is
thus insufficient to rebut the presumption. Mercedes, 254 F.3d at 436.

First, evidence of Mr. Hinkle’s close ties to Western New York does nothing to
rebut the presumption of dangerousness, as it was not “evidence contrary to the presumed
fact[s]”—extensive drug distribution and possessing a firearm in furtherance of drug
trafficking—that trigger the presumption in the first instance. United States v. Rodriguez, 950
F.2d 85, 88 (2d Cir. 1991). Indeed, it speaks to only one of the § 3142(g) factors that guide
the Court’s determination of whether the “presumptions . . . are rebutted,” and even then is
of limited relevance to the Bail Reform Act’s dangerousness considerations. Mercedes, 254
F.3d at 436.

For that reason, other courts in this district have found the presumption unrebutted
under comparable fact patterns. For instance, in United States v. Thompson, 436 F.Supp.3d
631 (W.D.N.Y. 2020) (Wolford, C.J.), the defendant was charged with firearm and drug-
related offenses, including being a felon in possession of firearms, maintaining a drug-
involved premises, and possession of firearms in furtherance of drug trafficking, all in

violation of 18 U.S.C. § 922(g)(1), 21 U.S.C. § 856(a)(1), and 18 U.S.C. § 924(c)(1)(a)(i),
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respectively. Also, like Mr. Hinkle, the Thompson defendant proffered that he “has strong
ties to the .. . communit[y].” Thompson, 436 F.Supp.3d at 638. Nevertheless, the Court
concluded that this factor, along with the defendant’s proffer of “assets that could be utilized
to secure his release . . . . d[id] not rebut the presumption in favor of detention.” Id.

That same conclusion applies here. Like the Thompson defendant, Mr. Hinkle is
charged with drug and firearm offenses, including being a felon in possession of firearms,
maintaining a drug-involved premises, and possession of firearms in furtherance of drug
trafficking. And, like the Thompson defendant, Mr. Hinkle urged that his strong community
ties rebutted the presumption in favor of his detention. That proffer was not enough in
Thompson, and it is not enough here. See Thompson, 436 F.Supp.3d at 638; Mercedes, 254
F.3d at 436.

Second, Mr. Hinkle’s dubious claim that he intended to personally consume the
marijuana from the 130+ marijuana plants discovered on his property cannot aid in his
efforts to rebut the presumption. Circuit courts across the United States—including the
Second Circuit—have rightfully rejected similar arguments. See, e.g., Proyect v. United States,
101 F.3d 11, 13 (2d Cir. 1996) (observing that it was “very unlikely that [a defendant
convicted of growing more than 100 marijuana plants] personally intended to consume all
of his crop”); see also United States v. Emmons, 24 F.3d 1210, 1215 (10th Cir. 1994)
(concluding that “the large quantity of marijuana discovered during . . . two expeditions
onto [the] property” was “an amount totally at odds with purely personal consumption”);
United States v. Miles, 319 F. App’x 266, 272 (4th Cir. 2009) (“Even though there was limited

evidence of Miles’ drug sales, the district court correctly discerned from the facts that Miles
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produced significantly more marijuana than he could have consumed.”); cf United States v.
Blais, 141 F.3d 1152, *2 (2d Cir. 1998) (table op.) (concluding that an “affidavit plainly
presented ample probable cause for the issuance of a warrant” to search a suspected
marijuana trafficker’s home where, in relevant part, it stated that “12 [marijuana] plants”
would be “more than would be cultivated for personal consumption”); United States v.
Molina-Alfonso, 377 F. App’x 850, 855 (11th Cir. 2010) (concluding that the evidence was
sufficient to establish the defendant’s guilt of narcotics conspiracy and possession where, in
relevant part, 100 marijuana plants founds at property “was inconsistent with personal
use”); United States v. Eng, 753 F.2d 683, 687 (8th Cir. 1985) (concluding that the evidence
was sufficient to establish the defendant’s guilt of narcotics conspiracy where, in relevant
part, thirty-five marijuana plants, dried marijuana buds, and equipment used to harvest
marijuana was “inconsistent with [the defendant’s] personal use claim”).

In sum, Mr. Hinkle did not “com[e] forward with evidence that he does not pose a
danger to the community or a risk of flight,” as he was required to do to carry his “limited
burden of production.” Mercedes, 254 F.3d at 436. Accordingly, the Court should conclude
Mr. Hinkle failed to rebut the statutory presumptions that favor his detention.

B. There is No Condition or Combination of Conditions That Can

Reasonably Assure the Safety of the Community if Mr. Hinkle, a Violent
Felon, is Released

Furthermore, the government can meet its burden of persuasion by clear and
convincing evidence that Mr. Hinkle presents a danger to the community. The evidence—
when viewed through the prism of the 3142(g) factors and alongside the presumption—

shows that there is no condition or combination of conditions that can reasonably assure the
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safety of the community (or the defendant’s appearance at trial) if Mr. Hinkle is released.

1. Nature and Circumstances of the Offenses Charged

Mr. Hinkle is charged with several serious firearm and drug offenses in the instant
Complaint. While the nature of these offenses themselves illustrate Mr. Hinkle’s
dangerousness, the circumstances of the investigation into Mr. Hinkle, as well as the
execution of the federal search warrant of his residence, cast grave doubt as to the safety of
any other person and the community if Mr. Hinkle is released.

a. Background to the Complaint

By way of background, the United States is investigating Mr. Hinkle in connection
with the death of Crystal Quinn, a federal witness who was scheduled to testify in an
upcoming criminal trial. Indeed, Mr. Hinkle was one of the last people to interact with Ms.
Quinn before Simon Gogolack, a defendant in a related prosecution, called 911 to report her
death on August 1, 2023. See generally Superseding Indictment, ECF No. 18, (dated Sept.
20, 2023), United States v. Gogolack, 1:23-CR-99 (W.D.N.Y). The next day, during an
interview with the FBI, Mr. Gogolack stated that, in the days immediately preceding her
death, Mr. Hinkle told Ms. Quinn that there was money on her head. Mr. Hinkle’s
apparent access to information about money being placed on Crystal Quinn’s life further
underscores his contacts in the criminal underworld.

In other words, there is evidence that Mr. Hinkle possessed knowledge of a murder-
for-hire plot stemming from Ms. Quinn’s cooperation with federal law enforcement and
communicated as much to her shortly before she died. Notably, Mr. Hinkle has, to date,

never reported to law enforcement his knowledge of the murder-for-hire conspiracy.

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b. The SWAT Team’s Efforts to Clear the Hinkle Residence

Mr. Hinkle’s interactions with SWAT team members and, subsequently, law
enforcement officers also evidence his dangerousness. At approximately 6:00 a.m. on
October 24, 2023, an FBI SWAT team attempted to “clear” Mr. Hinkle’s residence at 4290
Donovan Road in Alma, New York. The FBI engaged its SWAT team after concluding
that Mr. Hinkle, who is known to harbor anti-government sentiments, would likely be
armed and dangerousness. Though the SWAT team announced that the FBI used flash
grenades to effectuate a knock, and informed the occupants that they were executing a
federal warrant over a loud megaphone, it took Mr. Hinkle several minutes to exit the
residence. One SWAT team member, who estimated that he had performed between 50
and 100 warrant operations for the SWAT team, advised that the lengthy period in between
SWAT?s initial announcement and Mr. Hinkle’s exit gave him concern that Mr. Hinkle was
preparing for armed confrontation with the FBI.

That concern was supported by Mr. Hinkle’s subsequent behavior. Specifically,
when Mr. Hinkle finally opened the front door of the residence, he failed to exit and comply
with the SWAT team’s warnings. In fact, Mr. Hinkle was holding something that he
initially refused to drop and made furtive movements to the side of his body. Eventually,
Mr. Hinkle went so far as to attempt to re-enter the residence near the front door, prompting
the SWAT team to escalate its demands, which ultimately resulted in Mr. Hinkle’s
surrender.

Notably, when FBI agents apprehended Mr. Hinkle, they found his cell phone on his

person. And when law enforcement seized Mr. Hinkle’s phone, Mr. Hinkle responded

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angrily and belligerently.* Later, as pictured below when SWAT cleared the residence, they
discovered a loaded rifle with a scope by the front door—just feet away from Mr. Hinkle
when he appears to have attempted to re-enter the residence. Upon discovering that loaded
rifle, a SWAT team member stated that, in his view, Mr. Hinkle’s behavior during the
clearance process was consistent with that of someone contemplating an armed

confrontation with the FBI.

Rifle with Scope by
front door of
residence

4 Mr. Hinkle continued to direct anger toward law enforcement during the
initial hours of his detention, and, in one instance, asked a young, female law enforcement

offer to hold his penis to help him urinate.

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é. The Factual Basis of the Offenses Charged in the Complaint

One-hundred-and-thirty-four marijuana plants, nineteen firearms, numerous rounds
of ammunition, and other evidence consistent with a large-scale drug-production operation:
that is what FBI agents discovered in plain view in Mr. Hinkle’s residence on October 24,
2023, when executing a federal search warrant. As pictured below, many of those firearms

were strategically located both at points of ingress and egress and in close proximity to Mr.

Hinkle’s grow-operation.

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Marijuana plant

Storage bin containing jars of Digital scale

ar

Marijana

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Later, when clearing the basement of 4290 Donovan Road, FBI agents observed—
also in plain view—ammunition, marijuana, grow lights, other equipment used to sustain a

large-scale grow operation in the basement of the residence. Those materials are pictured as

follows:

Ammunition

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As these photos illustrate, Mr. Hinkle was armed and ready for a conflict in the event
anyone threatened his drug distribution operation. In that regard—and bracketing for a
moment that Mr. Hinkle, a felon, could not lawfully possess any of the 19 firearms found in
his home—the strategic placement of loaded firearms near points of ingress and egress of his
home, by windows, and next to drugs afforded Mr. Hinkle an “advantage relevant to the
vicissitudes of drug trafficking.” United States v. Snow, 462 F.3d 55, 62—63 (2d Cir. 2006).
In other words, it is clear from the placement of the firearms literally in between a drug
scale, a storage bin full of marijuana, and overlooking multiple marijuana plants, that Mr.
Hinkle used weapons “to protect drugs, drug proceeds, or . . . himself’ as he engaged in
drug-related activities. Id.

2. Weight of the Evidence

Though the defense all but conceded that Mr. Hinkle unlawfully possessed firearms
because he is a felon, it dismissed the strength of the government’s case with regards to the
narcotics distribution and unlawful possession of a firearm charges. Once more, this factor
supports the government’s argument for detention.

First, for the reasons explained, supra, the evidence is more than that sufficient to
convict Mr. Hinkle of the charges under Title 21. Over 130 marijuana plants, many of
which were labeled by strain (likely to ensure accurate marketing), were recovered from his
property. Mr. Hinkle dried the marijuana in a trailer, stored a bin full of marijuana in his
residence, had cameras installed on the exterior of his property to ensure adequate
surveillance of his crop, and repurposed his basement to grow marijuana. In addition to

these facts, the FBI found bags and bins containing suspected marijuana in the basement

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and on the floors, and multiple scales. As the Second Circuit has observed, “[p]ossession of
equipment to weigh, cut and package drugs is highly probative of a purpose to distribute,”
as is Mr. Hinkle’s “possession of . . . [multiple] loaded firearm[s].” United States v. Martinez,
54 F.3d 1040, 1043 (2d Cir. 1995).

Second, the evidence is already sufficient to sustain a conviction under § 924(c). As
previously noted, the strategic placement of firearms by doors, entryways and exits, and
near windows overlooking his crop supports the inference that Mr. Hinkle possessed
firearms—some of which were loaded—in preparation for a drug-related conflict. This
evidence, by itself, is sufficient to sustain a conviction under § 924(c). See, e.g., United States
v. Finley, 245 F.3d 199, 203 (2d Cir. 2001) (affirming conviction under § 924(c)(1) where
unloaded shotgun was stored under pile of clothes in the room from which drugs were sold);
United States v. Wahl, 290 F.3d 370, 376-77 (D.C. Cir. 2002) (affirming conviction under §
924(c)(1) where loaded gun was within defendant’s reach and in close proximity to
defendant’s drug stash); United States v. Lewter, 402 F.3d 319, 322 (2d Cir. 2005) (favorably
citing Wahl and Finley). Additionally, several of the firearms had tactical features, like lasers
and scopes, which further evidences their strategic use in facilitating Mr. Hinkle’s grow
operation.

Third, and finally, there is no doubt that Mr. Hinkle unlawfully possessed firearms.
Mr. Hinkle all but conceded as much during the October 26" detention hearing. But, if
there was any doubt, FBI seized the following firearms from Mr. Hinkle’s residence:

1. Savage Arms Model 93 with a scope (behind the front door);

2. Remington Arms rifle (also behind the front door);

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3. Knight muzzleloader model 5;

4. Rugger 22 caliber LR with one live round of ammunition (behind a door);

5. Remington Arms Rifle with a scope;

6. Remington Arms rifle with 11 rounds of ammunition;

7. Unknown make shotgun (next to a hutch);

8. J Stevens Arms shotgun;

9. Ithaca Gun Company rifle;

10. Remington Arms shotgun;

11. Crescent firearm gun of unknown model;

12. Remington Arms shotgun (20-gauge);

13. Olympia optimal rifle;

14. New England Firearms rifle (with scope);

15. Massberg shotgun;

16. Remington Arms shotgun (20-gauge);

17.S.P.A. Luige Franchi Brescia shotgun (12-gauge);

18. Unknown revolver; and

19. Remington Arms shotgun (12-gauge)

These firearms—some of which were loaded—as well as ammunition were found in
virtually every room and corner of the residence, and plainly show that Mr. Hinkle violated
18 U.S.C. § 922(g)(1).

3. History and Characteristics of the Defendant

The third factor similarly weighs against the defendant’s release from custody. For

starters, Mr. Hinkle’s scant employment history lends further support to the government’s

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position that he distributes marijuana. And his criminal history demonstrates his
dangerousness, dishonesty, and repeated unwillingness to comply with conditions of pre-
trial or post-conviction release. In short, the evidence as to this factor clearly and
convincingly shows that no condition or combination of conditions can reasonably assure
the safety of the community if Mr. Hinkle is release.
a. Defendant’s Employment History

As noted above, the defendant has limited employment history. Mr. Hinkle told
Pretrial Services that he has been “self-employed since 2020, as a contractor” and reports a
monthly cash flow of $215.00. While the government does not contest that Mr. Hinkle may
perform odd jobs from time to time, the significant quantity of valuable drugs recovered
from Mr. Hinkle’s property indicates that he underreported his income to Pretrial Services.
In that regard, Mr. Hinkle’s “lack of candor to pretrial services, and by extension to the
Court, are troubling and raise issues about supervision where [he] is being deceptive.”
United States v. Mitchell, No. 1:23-MJ-157 (RDA), 2023 WL 5438156, at *5 (E.D. Va. Aug.
23, 2023).

b. Criminal History

Mr. Hinkle also has an extensive criminal history—and repeated violations of the
terms of his bail and probation. On October 19, 2007, Mr. Hinkle pleaded guilty to resisting
arrest and attempted assault in the Second Degree, a Class E felony. He was sentenced to 6
months in jail and 5 years’ probation, which he appears to have violated in both July and

August 2009.

But Mr. Hinkle’s criminal history both pre-and-post-dates his violent felony

19
Case 1:23-mr-00469-JLS Document1 Filed 10/27/23 Page 22 of 59

a

conviction. On March 3, 1995, Mr. Hinkle was charged with sexual misconduct for having
intercourse with a female without her consent. While out on bail for that offense, he was
arrested again for criminal mischief. Mr. Hinkle received a youthful offender adjudication
on October 10, 1995, for the sexual misconduct charge, and was sentenced to a 3-year term
of probation and 100 hours of community service. Just three days later, on October 13,
1995, Mr. Hinkle was arrested for burglary in the third degree, a Class D felony, though he
ultimately pleaded guilty to misdemeanor larceny on January 26, 1996.

Mr. Hinkle’s criminal activity continued into his twenties. On July 11, 1998, he was
arrested for possession of stolen property, an offense to which he pleaded guilty on March 7,
2001. Also in July of 1998, Mr. Hinkle was arrested for retail theft and sentenced for that
offense to a 1-year term of probation on December 10, 1998. The next month, Mr. Hinkle
was arrested for driving while intoxicated.

Mr. Hinkle went without an arrest for seven years when, in August 2005, he
committed the felony assault previously discussed. A little over one year later, on
December 22, 2006, Mr. Hinkle was arrested again, this time for assault in the third degree,
criminal trespass in the second degree, and violent disorderly conduct. That arrest occurred
while Mr. Hinkle was out on bail for his felony assault charge. Several months later, on
April 22, 2008, Mr. Hinkle was arrested for criminal possession of a weapon in the fourth
degree, also while he was on probation. By then, Mr. Hinkle was in his thirties, and his
criminal conduct only continued. In May 2008, Mr. Hinkle, while still on probation, was
arrested for perjury in the first degree, a Class D felony. That same month, he was arrested
with welfare fraud in the third degree, a Class D felony and offering a false instrument to

file, a Class E felony. Ultimately, Mr. Hinkle pleaded guilty to welfare fraud in the fifth

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degree, a misdemeanor.
Moreover, though Mr. Hinkle made much of the fifteen-year lapse in between his
last arrest and the instant charges during the October 26" detention hearing, his arrest
.record as reflected in the Pretrial Services Report does not reflect the full extent of his recent
criminal history.°
For example, on December 8, 2018, New York State Police responded to Hinkle’s
residence at 4290 Donovan Road after a caller reported that he had shot deer on the caller’s
private property from a moving vehicle. The NYSP officer who investigated the caller’s
complaint observed the vehicle from which Mr. Hinkle allegedly shot the deer at Mr.
Hinkle’s property. Mr. Hinkle denied shooting the deer. Later, when the NYSP officer
returned, he spoke with Mr. Hinkle’s girlfriend and co-defendant, Dillon Anderson, who
“attempted to lie and state[d] [that] the vehicle was currently in the State of West Virginia,”
when, in fact, it was “parked down a long dead end trail.” See Exhibit 1 (N.Y. St. Pol. Rept.
(dated Dec. 8, 2018)). When the officer “explained to Anderson [that] [he] had already
observed the vehicle on her property, she explained she was not going to rat anyone out.” Id.
at 5 (capitalization removed and emphasis added).

Next, on December 9, 2021, Ms. Anderson called 911 to report that Mr. Hinkle

5 Mr. Hinkle’s recent criminal conduct—separate and apart from the instant
charges—undercuts Judge Roemer’s conclusion that the government “failed to show by
clear and convincing evidence that no condition or combination of conditions will
reasonably assure the safety of any other person in the community” because Mr. Hinkle’s
“Jatest offense occurred over — about 16 years ago.” Tran. Det. Hr’g at 29, United States v.
Hinkle, 1:23-MJ-5219 (W.D.N.Y. Oct. 26, 2023). To be sure, Judge Roemer could not
consider these more recent incidents because the government did not have the attached
police reports at its disposal. The investigation into Mr. Hinkle—and other related
matters—is proceeding rapidly, and the government continues to review evidence gleaned
from the October 24" search as it is processed.

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threatened to kill her and then himself. She also reported that Mr. Hinkle left his residence
at 4290 Donovan Road, where the FBI conducted the search warrant, with a shotgun and a
.22 rifle.° The NYSP report provides as follows:

[Howard Hinkle] and [Anderson] got into a verbal argument earlier in
the day. She stated that they had an argument over the brakes on her
vehicle, which made H. HINKLE upset. She stated H. HINKLE
stated to her that he would blow his brains out in the house, so that she
w[ould] have to witness it, and clean up the mess. She stated
H.HINKLE said that he would kill her, and then kill himself. She
stated she gave him his space to let him cool off. She stated she then
took a shower, and when she got out, he began arguing with her again
because he got his truck stuck by the garage, and that she didn't help
him with it. She stated he again stated that he would put a gun to his
mouth, and pull the trigger. She stated later on H. HINKLE grabbed a
bag full of clothes from his room, and stated he didn't want to stay at
the house tonight. H. HINKLE then stated to her that he had no
purpose here, and felt that he was done. He also stated again to D.
ANDERSON that he would shoot himself right in front of her in the
kitchen. That is when D.ANDERSON called 911 for assistance, and
H, HINKLE then grabbed a loaded .22 rifle that was by the door, and
left the house in his white Chevrolet pick-up truck.

See Exhibit 2 at 3 (N.Y. St. Pol. Rept. (dated Dec. 9, 2021)). While no arrest is filed, Mr.
Hinkle was placed in a mental health hold by police. Per the police report:

HINKLE into custody for mental health evaluation . . . . [officers]
transported H. HINKLE to Olean General Hospital for further
evaluation. While en route as well as waiting in the hospital waiting
room, H.HINKLE stated again that while having an argument with
his fiance D. ANDERSON, he stated that he would, “blow his brains
out in front of her, so that she would have to clean it up.”

Id.

More recent still, Mr. Hinkle was the subject of a domestic incident police report

6 The FBI recovered multiple shotguns and .22 rifles in searching Mr. Hinkle’s
home.

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earlier this year, in February 2023. According to the February 11" 911 call report, Mr.
Hinkle was “punching walls and acting in an aggressive nature” at his sister’s house.’ See
Exhibit 3 at 1 (Allegany Cnty. Off. Of Sheriff, Call for Service Detail Report (dated Feb. 11,
2023)).

Lastly, Pennsylvania State Police cited Mr. Hinkle on July 5, 2023, for shoplifting
$104 worth of property from a Kwik Fill. Charges were filed in Pennsylvania state court
and Mr. Hinkle pleaded guilty to the shoplifting offense on August 9, 2023. See Exhibit 4,
Pennsylvania State Police Report (printed Oct. 27, 2023). Notably, Mr. Hinkle did not
report this offense to the U.S. Probation Office, which raises serious concerns as to his
ability to comply with the terms of his supervised release.

In short, Mr. Hinkle’s “criminal history”—which reaches through three decades of
his life—“is significant with repeated violations of probation or pretrial supervision.” United
States v. Arrington, ---F Supp.3d----, 2023 WL 2492980, at *7 (W.D.N.Y. 2023) (Wolford,
CJ).; see generally United States v. Barnett, No. 5:03-CR-243(NAM), 2003 WL 22143710, at *5
(N.D.N.Y. Sept. 17, 2003) (ordering detention for defendants with multiple violations of the
terms of their pretrial detention and probation). Accordingly, this factor also weighs in
favor of detention.

c. Ties to the Community

The defendant’s primary argument during the October 26" detention hearing related

to his ties to the Western District of New York community. The government does not

7 A third 911 call was made on Mr. Hinkle in July of 2023. However, the 911
report offers little detail as to the call’s purpose, noting only that the call was meant to
“assist” with Mr. Hinkle.

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contest that Mr. Hinkle has family in Western New York. However, in addition to family
and in light of Mr. Hinkle’s large-scale drug operation, it is very likely that Mr. Hinkle’s ties
to the community include drug associates and individuals who unlawfully sale firearms.
Indeed, in the days immediately preceding Ms. Quinn’s death, Mr. Hinkle associated with
Mr. Gogolack, an illegal drug dealer. Accordingly, far from benefitting Mr. Hinkle, this
factor under § 3142(g) is, at best, neutral and, at worst, weighs in favor of detention.
4, Nature and Seriousness of the Danger to Any Person or the Community

The government addressed the defendant’s danger to the community supra.
However, it is worth emphasizing that this danger is not merely to the community as a
whole, but also the danger that would be posed by the defendant’s release to any person in
the community. Mr. Hinkle’s knowledge of money being placed on Ms. Quinn’s head is
strongly suggestive of a murder-for-hire plot against Crystal Quinn, a federal witness in an
upcoming trial with hundreds of other witnesses, underscores that there could be several
individuals whose lives would be in very real danger should the defendant be released. The
defendant’s apparent access to information about money being placed on Crystal Quinn’s
life further underscores the defendant’s contacts in the criminal underworld, and this factor
continues to weigh in favor of the existing presumption. This factor continues to weigh in
favor of the existing presumption.

Cc. Mr. Hinkle is a Flight Risk

Finally, Mr. Hinkle, a recidivist offender, is a flight-risk: he faces, at minimum, a ten-
year term of incarceration and the possibility of life because well over one hundred

marijuana plants were recovered from his residence and he strategically placed firearms

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throughout his home to protect his large-scale grow operation. See United States v.
Vasconcellos, 519 F.Supp.2d 311, 319 (N.D.N.Y. 2007) (“Given the severe sentence [the
defendant] is confronting [(a mandatory minimum ten-year sentence and the possibility of
life)] and his lack of assets, he is a flight risk. Just as importantly, his current drug
trafficking behavior, including that associated with the ammunition and handguns, has been
dangerous. There are no release conditions that would preclude his risk of danger and
flight.”); see also United States v. Henderson, 57 F. App’x 470, at *1 (2d Cir. 2003)
(unpublished) (affirming district court’s conclusion that “a defendant facing a ten-year
mandatory minimum had not sufficiently rebutted th[e] statutory presumption of a flight
risk and the government’s proffer was compelling”). Accordingly, Mr. Hinkle is strongly
incentivized to flee the Western District of New York, and this flight risk militates in favor

of detention.

CONCLUSION

Mr. Hinkle’s release poses a serious risk of danger to the community and individuals
within, and a serious risk of flight. No condition or combination of conditions can lessen
this risk to a point where Mr. Hinkle’s appearance, nor the safety of the community or other
individuals, can be reasonably assured. For the reasons stated above, the government
respectfully requests that the District Court revoke Magistrate Judge Roemer’s October 26,

2023, decision and order the defendant be detained pending trial.

DATED: Buffalo, New York, October 27, 2023.

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TRINI E. ROSS
United States Attorney

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s/NICHOLAS T. COOPER
s/CASEY L. CHALBECK
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Exhibit 1

ident

Agency POC Phone:518-786-2100

Data Owner Organization: NY State Police Olean
Data Item Status: Closed
Record GUID: be6c6a95-60a1-42d1-a27c-d7d63ffa4ce5

Data Owner ORI: NY 1040100
Data Item Date: December 08, 2018

Agency POC Email:
nysic.nysic_po nyspdivhq@troopers.ny.gov
Data Item Category: Incident Report

Data Item Reference ID: Id_38116239

__ People ts)

Stephanie Grimaldi

DOB: Not Reported

Born: Not Reported (id ntifies

‘Badge Number |
officer badge number
5567

Incident Repor ing
Official
Incident

Dennis Nolder Enforcement Official

DOB: Not Reported

Born: Not Reported

‘Badge Number

officer badge number
5465

Ages: 50

Gender: Male

Race: White

[As J

Activity Involved Person
Incident
Biographic Data |

Ethnicity: Nonhispanic

Ages: 51
Gender: Male
Race: White

Activity Involved Person
Incident

Biographic Data |
Ethnicity: Nonhispanic
Case 1:23-mr-00469-JLS Document1 Filed 10/27/23 Page 30 of 59

Howard L Hinkle

Born: 12:07 PM July 22, (| fentifi

Weight: 180 Ib

Ages: 42
Height: 68 in

Hair Color: Brown [Locati }
Eye Color: Green -
Gender: Male General |
Race: White 4290 Donovan Road
New York
Activity Involved Person
Incident
Biographic Data “Appearance Data |

Ethnicity: Nonhispanic
Religion: Unknown

Person Build: Medium Build
Eyeware: No Eyewear
Facial Hair: Mustache

Skin Tone: medium skin

Gender: Male
Race: White
[As ciated fvitles ]
Activity Involved Person
Incident
Biographic Data |
Ethnicity: Nonhispanic
Dillon S Anderson
Ages: 40
Gender: Female
Race: White
Activity Involved Person |
Incident

Biographic Data |
Ethnicity: Nonhispanic

ender: Female
Race: White
Activities }
Activity Involved Person
Incident
Biographic Data |

Ethnicity: Nonhispanic

Activities (3)

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| Offense

Activity ID: Id_12390589

[Offense Data |

| Statute

fd: 5102

| Jurisdiction: NY

| Bias Motivation: Nonbias Or Nonhate Crime
| Offense Code: Conserva ion

Domestic Violence Indicator: Nondomestic
iViolence
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Incident

Activity ID: Id_38116239

Start Date: 5:12 AM December 08, 2018
End Date: 5:12 AM December 08, 2018

| Activity Involved Person

Howard L Hinkle

Description: CLOSING: On December 13, 2018 |
responded to 4290 Donovan Road, Wellsville to
interview HINKLE. Upon arrival, | interviewed HINKLE
who stated on December 8, 2018 he was operating the
2005 Chevrolet Silverado with his friend, ET

1 ey HINKLE stated
he was in the area coming from a pond where he was
going to go ice fishing. HINKLE verified the
confrontation between himself and [EBL HINKLE
denied shooting the deer on KNOX'S property. HINKLE
stated he is provided four tags per year and does not
need any further deer at this time. HINKLE stated if he
was going to shoot a deer from a moving vehicle he
would ensure that he retrieved the deer and did not
leave it. HINKLE stated while he was in the area he
never had a gun in his vehicle in order to hunt. When |
inquired to HINKLE why his vehicle appeared to have
been hidden on their property he had replied hat he had
just returned home from West Virginia and simply
wanted to surprise ANDERSON that he was home.
HINKLE stated he had no issue speaking with he New
York State Police because he did not believe he did
anything wrong and was sim} he wrong place and
he wrong time. | interviewed 0 ver
same facts provided by HINKLE. Complainant, fey
advised of the same. | informed if any fur her
information arises to incriminate the above mentioned
parties or he person(s) responsible for the incident the
case could be re-addressed at a later time. CASE
CLOSED , FOLLOW UP: | responded to 4290 Donovan
Road, Wellsville in attempts to re-interview ANDERSON.
No one appeared to be home at the residence.
Message left for call back. | completed an SJS search
which revealed ANDERSON has ies wih HOWARD L.
HIN R_Linterviewed neighbor, i.

tated he knows ANDERSON but

does not know her well. [IEEE advised ANDERSON
has several vehicles but is unaware of who she may be
let ing operate the vehicles. While i I
attempted to contact ANDERSON telephonically. Voice
mail left for call back. | attempted to contact HINKLE.
HINKLE stated he would be able to discuss the incident
on December 13, 2018 at approximately 12 00 PM.
During he phone conversation HINKLE verified he
drives a white truck. Pending, INITIAL: Per Allegany
County Dispatch, | responded to County Road 29,
Willing for a report of an E! jolat arrival,
| interviewed complainant, In
regards to a deer being shot on his property from a
running motor vehicle. dvised this evening,
December 8, 2018 at approximately 4:40 PM he was
outside his residence located at
Willing when he heard a gun shot which he believed to

happen di e SB and his
irfriend. responded to
which they believed the sound to

come from. Upon their arrival, they observed a 2005
Chevrolet Silverado bearing New York registration

ith two unidentified, middle aged, males in
he vehicle. {iiiitated the vehicle pulled around and
parked on the south shoulder of the roadway.
stated he pulled up along side the vehicle and asked
both males if they had gotten any hing. Both men

a to have been confused by the question.

explained to both men, hat while at his

residence he had heard a gun shot, assuming someone
had shot a deer. Both men denied shooting any guns.
Bo h men re-entered the vehicle and left the scene.

tated he followed the vehicle in an attempt to
obtain the registration {iiJadvised when he was
finally able to obtain the registra ion he went back to
where the vehicle was stopped. Approximately twenty-
five feet away from the shoulder of the roadway was a
small doe tated at this time he contacted the
New York State Police. MBBstated the property in
which the deer was killed is their private property. Signs
posted indicated the same. Gen'l 4 provided by ERE
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stated he above men ioned details and is attached as
Enclosure #1. Deer located approximately twenty-five
feet away from the roadway, adjacent to where the truck
was parked on the shoulder of the roadway. Deer had
one apparent gun shot wound which resulted in it's
death. Allegany County ENCON officers unavailable.
Due to the fact ENCON was not available ijvas

rovided a Deer Possession Tag #A298625. | advised
mes. contact the New York State Police immediately
if the person(s) responsible returns to he scene in an
attempt to obtain the deer. | responded to 4290
Donovan Road, Wellsville in attempts to interview the
owner of the vehicle. Upon my arrival, | observed the
2005 Chevrolet Silverado bearing New York registration
27734MK parked down a long dead end trail. It
appeared the owner was attempting to hide he vehicle.
| interviewed owner, DILLON S. ANDERSON who
refused to state who she loaned the vehicle to this
evening. ANDERSON attempted to lie and state he
vehicle was currently in the State of West Virginia. Once
| explained to ANDERSON | had already observed the
vehicle on her property she began to explain she was
not going to rat anyone out. ANDERSON requested the
New York State to follow up with her on November 12,
2018.

__ Service Call

Activity ID: Id_38116557

Locations (7)

}
4290 Donovan Road I ]
New York | General Association |
Howard L Hinkle
(Ass }
J

4290 Donovan Road \SSOCI
Pee TONS | General Association |
Dillon S Anderson

Items (1)

Chevrolet Silverado

Color: White
License Plate: New York 27734MK
VIN: 1GCHK29U65E216931

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close print view

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DEx information requires the satisfaction of the Advanced Permission Requirement (confirming the terms of information use) and the
Verification Requirement (verifying the completeness, timeliness, accuracy, and relevancy).
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Samantha Lamantia

NYS St e Polic 2 O lea

Reena POC Name: NY State Police Olean

Data Owner Organization: NY State Police Olean
Data Item Status: Cleared by Arrest

Record GUID: 1eca9d38-a4.a9-4 169-905f-55a07c2a5555

UNETSHLAMANTIA@FBI.GOV

Incic dent Report |
“Aganicy Pt POC Phone:518-786-2100

Data Owner ORI: NY 1040100
Data Item Date: December 09, 2021

Exhibit 2

US FBI Field Offc Buffalo NY

December r 09, 202
Aaency! POC Email:
nysic.nysic_po.nyspdivhg@troopers.ny gov
Data Item Category: Incident Report

Data Item Reference ID: Id_53450620

People (4)

Dillon S Anderson

ges: 43
Height: 63 in
Weight: 165 Ib
Hair Color: Brown
Eye Color: Brown
Gender: Female
Race: White

Jason Schmand
Born: Not Reported

Tyler Stevens
| Born: Not Reported
|

Born: 12:10 Pv

Victim

4290 Donovan Road
New York

(Assoc

"Subject Victim |
Howard L Hinkle

Activity Involved Person | | Incident Victim |

Incident Incident

' Biographic Data | | Appearance Data |
Ethnicity: Nonhispanic Person Build: Medium Build

Religion: Unknown

Enforcement Official

Eyeware: No Eyewear
Facial Hair: Clean Shaven
Skin Tone: medium skin

DOB: Not Reported

[ide

Badge Number |
officer badge number
2882

Enforcement Official

DOB: Not Reported

“Badge Number
officer badge number
712

G

‘Incident Reporting
Official
Incident
Case 1:23-mr-00469-JLS Document1 Filed 10/27/23 Page 35 of 59

Howard L. Hinkle

Exhibit 3

DOB: 12:07 PM July 22, 1976

Born: 12:07 PM July 22, (| { 1S
ges: 45 Social Security # |
Height: 68 in
Weight: 180 Ib
Hair Color: Brown (i (
Eye Color: Green ;
Gender: Male General |
Race: White 4290 Donovan Road
New York
(/ seociated Per
Subject Victim |

Dillon S Anderson

‘Biographic Data |
Ethnicity: Nonhispanic
Religion: Unknown

| Appearance Data |
Person Build: Medium Build
Eyeware: No Eyewear
Facial Hair: Mustache
Skin Tone: medium skin

‘Aliases |
String
Activities (4)
Offense
Activity ID: Id_20478543 | Offense Data
Statute
Id: 5527

Jurisdiction: NY

Bias Motivation: Nonbias Or Nonhate Crime
Offense Code: Crimes Against Person
Domestic Violence Indicator: Domes ic Violence
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| Incident

Activity ID: Id_53450620
Date: 6:12 AM December 09, 2021

(Associated Persons

{ Activity Involved Person: [Incident Victim |
‘Dillon S Anderson Dillon S Anderson

[ Locations

Incident | _
4290 Donovan Road
Alma, New York

[Activity Description J

Description: Initial Entry On December 9, 2021
Troopers responded to 4290 Donovan Road, T/Alma for
a domestic dispute through Allegany County 911. Tpr
Papponetti and Hoak interviewed the victim, DILLON
ANDERSON, who stated that her fiance, HOWARD
HINKLE and her got into a verbal argument earlier in he
day. She stated hat they had an argument over the
brakes on her vehicle, which made H. HINKLE upset.
She stated H. HINKLE stated to her that he would blow
his brains out in he house, so that she was have to
witness it, and clean up he mess. She stated H.
HINKLE said that he would kill her, and then kill himself.
She stated she gave him his space to fet him cool off.
She stated she then took a shower, and when she got
out, he began arguing with her again because he got his
truck stuck by the garage, and that she didn’t help him
with it. She stated he again stated hat he would put a
gun to his mouth, and pull the trigger. She stated later
on H. HINKLE grabbed a bag full of clothes from his
room, and stated he didn't want to stay at the house
tonight. H. HINKLE then stated to her that he had no
purpose here, and felt that he was done. He also stated
again to D. ANDERSON that he would shoot himself
right in front of her in he kitchen. That is when D.
ANDERSON called 911 for assisttance, and H, HINKLE
then grabbed a loaded .22 rifle that was by the door,
and left the house in his white Chevrolet pick-up truck.
D. ANDERSON stated that she would not like to pursue
charges, but that H. HINKLE needs hetp for his mental
health. Tpr Papponetti obatined a depostion stating
same. Patrols BOLO’ed for H. HINKLE and said vehicle.
which was located at 1614 Fanton Road, T=’
Informa ion
TOT ed to myself. ITC , Closing Entry Tpr Phelps and |
were advised that patrols were out with HOWARD
HINKLE at 1614 Fanton Road, T/Wellsville. We
responded to same address to assist, and place H.
HINKLE into custody for mental health evaluation 9.41.
Tpr Phelps and | transported H. HINKLE to Olean
General Hospital for further evalua ion. While en route,
as well as waiting in the hospital waiting room, H.
HINKLE stated again that while having an argument
with his fiance D. ANDERSON, he stated that he would,
"blow his brains out in front of her, so that she would
have to clean it up.” H. HINKLE was TOT ed to to Olean

General Hospital as! further SP
assistance required. completed and submitted.

f

CBA
(“Service Call
Activity ID: 1d_53452075
Offense — oo
Activity 1D: td_20478725 Offense Data |
Statute
Id: 6892
Jurisdiction: NY

Bias Motivation: Nonbias Or Nonhate Crime
Offense Code: Heal h Or Safety
Domestic Violence Indicator: Domes ic Violence

Locations (3)

4290 Donovan Road
Alma, New York

4290 Donovan Road
New York

[Associated People

General Association |
Howard L Hinkle
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4290 Donovan Road [Associated People
N
lew York General Assoc fon]
Dillon S Anderson
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NY State Police Incident Report February 71, <
Agency POC Name: NY State Police Olean Agency POC Phone:518-786-2100 Agency POC Email:
nysic.nysic_po nyspdivhq@troopers.ny.gov
Data Owner Organization: NY State Police Olean Data Owner ORI: NY 1040100 Data Item Category: Incident Report
Data Item Status: Closed Data Item Date: February 11, 2023 Data Item Reference ID: Id_59827756
Record GUID: 6db0f9a0-23fb-4e 12-9ac8-e6ccf5e57681
People (4)
Victim
Born: 12:09 PM September }
ges:
Gender: Female
Race: White
{ Subject Victim |
Howard Hinkle
Activity Involved Person | | Incident Victim |
Incident Incident
(Other Data }
‘ Biographic Data |
Ethnicity: Nonhispanic
Daniel Armenia Enforcement Official DOB: Not Reported
Born: Not Reported (identifiers ]
Badge Number
officer badge number
239
Incident Repor ing
Official
Incident
Kevin Gabel Enforcement Official DOB: Not Reported
Born: Not Reported ( ldentifie }
Badge Number
officer badge number
4003
Howard Hinkle DOB: 12:07 PM July 22, i
Born: 12:07 PM July 22, (Tocation: }
Ages: 46 General |
Gender: Male 4290 Donovan Rd New
Race: White York
| Biographic Data |

Ethnicity: Nonhispanic

Activities (2)

Case 1:23-mr-00469-JLS Document1 Filed 10/27/23 Page 39 of 59

Incident

Activity ID: Id_59827756
Date: 2 02 AM February 11, 2023

[Activity Descript ]
Description: Attempted to speak with Hinkle via phone
having negative results. ITC, CLOSING: | interviewed
Howard Hinkle who stated that he and his step sister
lhad a misunderstanding over he house

hat she is living in. Hinkle stated that he just left after
his to deter any other problem. CLOSED, INITIAL: CAD
# 23001814 Dispatched by Allegany County to patrol to
SER mestic Dispute. | arrived on scene
and spoke wih who stated that her

Howard Hinkle was here and had been mean to
her before leaving he residence. tated hat she
was fine and that she did not wish to do any paperwork
nor want anything else due to nothing happening. No
other SP assistance needed. DIR was completed on
scene and given to a -PENDING

Service Call
Activity ID: Id_59829517

Locations (3)

4290 Donovan Rd
New York

back to ton
close print view

N-DEx information may be viewed, output, or discussed without advance authorization of the record owning agency. However, any use of N-
DEx information requires the satisfaction of the Advanced Permission Requirement (confirming the terms of information use) and the
Verification Requirement (verifying the completeness, timeliness, accuracy, and relevancy).
Case 1:23-mr-00469-JLS Document1 Filed 10/27/23 Page 40 of 59

PENNSYLVANIA STATE POLICE

General Offense Report

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This is a Pennsylvania State Police Department confidential document. Release of any information

contained within this document without the consent of the issuing agency is unlawful dissemination and
will be considered a criminal act punishable by law.

Exhibit 4

For 610506 ~=Printed On Oct-27-2023 (Fri.)
Case 1:23-mr-00469-JLS Document1 Filed 10/27/23 Page 41 of 59

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PENNSYLVANIA STATE POLICE
GO# PA 2023-896117

THEFT RETAIL/SHOPLIFTING
ARRESTEE (includes runaway)
#1 - HINKLE, HOWARD L JR
Non-Traffic Citation Number N0152267-3

PSP Report Hardcopy
Case 1:23-mr-00469-JLS Document1 Filed 10/27/23 Page 42 of 59

Table of Contents

Related Persom(S) oo... eececssecssecesssccsseseeeseeescecsnssescaeesseecsseesessecasusvsssessasecsaeecesassaaerenaes

1. ARRESTEE (includes runaway) # 1 - HINKLE, HOWARD L JR oun... ccc ccccsceccscsecsssscsscsessceecrssetocserersnesaseasene
2. VEH OWNER # 1 - ANDERSON, DILLON S oui eesecssssssssesesessnsesceceseesessseesenssevsussucscususscsavevssensaessanansseaaaes

3, OTHER # 1 - I cccsssunenunntvantnstnnnstnsnatnunstesistsstetneteenete

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Related Vehricle(S) 0.0.0... ececcssscsssseceessscceeesseesessseeeeeesaeecssseeecesseesessesevseetsesuaususesnauseseess
1. Involved # 1 - 27734MK, NY VIN# 1GCHK29UG5E216931 oooon...oececccssssssecscsssssescscossssesescesssseseesssssseseesssssecesssssseed

Related Follow Up(S) .............ccccccccccsssssssccceceesssceeeeceessssssseesessseeeeececcesseeuscessssneeeeeseeseneaeacees

1. Follow Up Report # PA 1 ou... cccsssssscssssesssrssnssecssecnecsessssasstsnsvoreseeesseressuessessessnagsaesanseacanaesssersarsnesensenevsssvassases
1. VICTIM/WITNESS ASSISTANCE GUIDE RECEIPT - uuu... eesscsscsscscccecessesseesessecaceceseesessecusenereneaeseens

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2. OTHER -

2. Follow Up Report # PA 2 - PORT,B,15298
3 - OFFICER NARRATIVE 09/23/2023
7-TEXT TEMPLATES - NON TRAFFIC CITATION DISPOSITION

3. Follow Up Report # PA 3 - TRICK,M,13606 ooo... eee seeeeneceneeesceesnessseeesceessaessasenssensaeecssesseetsacesaceneeensaerensens

3 - OFFICER NARRATIVE - VIDEO FILED 08/28/2023

Related Property Report(s)  ...............ccccccccccceesssseceeeeeseeceeeeceeesssnaceceesesssenseeneesseneaeeseneneaaees
1. PROPERTY REPORT # 23896117 (STOLEN) ......cscsssssccsssssssssssssssesecssssseseceeranersesneeiesesssnuneeeeessnseserenssneeseesners

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Case 1:23-mr-00469-JLS Document1 Filed 10/27/23 Page 43 of 59

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Reported Date: Jul-05-2023
(Wed.)

PENNSYLVANIA STATE POLICE

General Offense Report

Crees cKeele] a
Officer: 799829 - PORT,B,15298

Approved by: 610506 - DELP,M,10061

Date Occurred: Jul-05-2023 (Wed.) | Time: 1439 |Latest Possible Date: Time:
Location of Occurrence: 108 N GENESEE ST , GENESEE TWP (POTTER) _ District: FO2 Zone: F0233_ Grid:
Study: Not Applicable [Domestic Violence: No

Offense: #1 THEFT RETAIL/SHOPLIFTING - COMPLETED

Total Stolen: $104 Total Damaged: | Total Recovered:

Clearance Information

Agency: PA State Police Date Cleared: 07/27/2023 [Cleared by: PORT,B,15298

Status: Cleared By Arrest Or Citation IBR Cleared exceptionally status: Not Applicable

Iriel acta ie
ARRESTEE (includes runaway) #1 - HINKLE, HOWARD LJR

Sex: Male |Race: WHITE Ethnicity: Non-Hispanic |DOB: aa
Age Based Off Incident Occurrence Date: 46

Height: 5'08 Weight: | Hair: Eyes: GREEN
Address: 4290 DONOVAN RD WELLSVILLE, NY 14895

Home #: aa Work #: [Cell #: a
Email Address:

Place of Birth: Citizenship:

Language: Marital Status: | Occupation:
Employer: UNKNOWN Employer Address:

Driver's License #: i New York Social Security #:

Complexion: | Build: | Handed:

Description of Facial Hair:

Facial Hair Color: Eye Glass Lens:

Linkage Factors

Resident status: Nonresident Age Range: 30-49 Just. homicide circumstance:

Years
Aggravated assault/homicide:
Related vehicle #: 1 - 27734MK, NY Person seat position:
Type of injury:
Person location: | Arrest date: 07/27/2023

Disposition: Not Taken into Custody

Juvenile Status: | Muttiple Clearance: Not Applicable

Armed with: Unarmed

Arrest type: Summoned/Cited(Not Taken Into Custody)
Offense: 2302 -0 THEFT RETAIL/SHOPLIFTING - COMPLETED

Processed Details

FINGERPRINTED No
PHOTOGRAPHED No
NON-TRAFFIC CITATION NUMBER N0152267-3
Refiled Charges

Go to TOC For Official Use Only Printed On Oct-27-2023 (Fri.) For 610506 Page 1 of 17
Case 1:23-mr-00469-JLS Document1 Filed 10/27/23 Page 44 of 59

PENNSYLVANIA STATE POLICE

General Offense Report

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Limited English Proficiency

NON-PSP INTERPRETER Shall be added as an Entity

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PENNSYLVANIA STATE POLICE

General Offense Report

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VEH OWNER #1 - ANDERSON, DILLON S — ce
Sex: Female |Race: WHITE | Ethnicity: Non-Hispanic |DoB: aaa
Age Based Off Incident Occurrence Date: 44
Height: 5103 + Weight: | Hair: Eyes: BROWN
Address: 4290 DONOVAN RD WELLSVILLE, NY 14895
Home #: | Work #: |Cell + eas
Email Address:
Place of Birth: Citizenship:
Language: Marital Status: | Occupation:
Employer: Employer Address:
Driver's License #: 3 =New York Social Security #:
Complexion: | Build: [ Handed:

Description of Facial Hair:

Facial Hair Color: Eye Glass Lens:

Linkage Factors

Resident status: Nonresident Age Range: 30-49 Just. homicide circumstance:
Years

Aggravated assault/homicide:

Related vehicle #: Person seat position:

Type of injury:

Person location: [Arrest date:

Disposition:
Juvenile Status: | Multiple Clearance:

Armed with:

Arrest type:

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Case 1:23-mr-00469-JLS Document1 Filed 10/27/23 Page 46 of 59

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PENNSYLVANIA STATE POLICE

General Offense Report

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OTHER #1 , os

Sex: Female |Race: WHITE | Ethnicity: Non-Hispanic [DOB: aaa
Age Based Off Incident Occurrence Date: 50

Height: 5100 Weight: | Hair: | Eyes: BROWN
Address: i a

Home #: | Work #: |Cell ¢: eee
Email Address:

Place of Birth: Citizenship: AMERICAN

Language: English

Marital Status:

| Occupation:

Employer: KWIK FILL

Employer Address:

Driver's License #: NEN) Social Security #:

Complexion: | Build:

| Handed:

Description of Facial Hair:

Facial Hair Color:

Eye Glass Lens:

Linkage Factors

Resident status: Resident Age Range: 50-64 Just. homicide circumstance:

Years

Aggravated assault/homicide:

Related vehicle #:

Person seat position:

Type of injury:

Person location:

[Arrest date:

Disposition:

Juvenile Status:

| Multiple Clearance:

Armed with:

Arrest type:

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PENNSYLVANIA STATE POLICE

General Offense Report

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Victim #1 - KWIK FILL
Address: 108 N GENESEE ST, GENESEE, PA 16923

Phone #: ay Type: Convenience Store

Alarm Company: Security: No

Victim of Offense: THEFT RETAIL/SHOPLIFTING - COMPLETED

Contact: Affiliation: MANAGER Phone #: (i
BRS)

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PENNSYLVANIA STATE POLICE

General Offense Report

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eer my cultal sc) ian
Involved #1 - 2005 CHEVROLET SILVERADO

License Plate: 27734MK 1 License State: New York VIN#: 1GCHK29U65E216931 OAN:
Style: PICKUP Color: White

Miscellaneous Information:

Type: AUTOMOBILE Transmission:

Interior description: Exterior features:

Modifications: Condition:

Body damage: Wheels:

Windows: | Features:

Linkage Factors

Related Owner: Contacted owner: N

Vehicle Use: DRIVEN BY SUSPECT/ARRESTEE TO SCENE, DRIVEN BY SUSPECT/ARRESTEE FROM SCENE

# of Occupants: Leased/Owned: Location: GOA/NOT LOCATED

Disposition: Towed: No

Insurance Company: Liability Insurance: No
Policy #: Expiry date:

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PENNSYLVANIA STATE POLICE

General Offense Report

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Document: 1 -INITIAL NARRATIVE

Author: 799829 - PORT,B,15298

Related Date/Time: Jul-05-2023 (Wed.) 1659
Subject:

DESCRIPTION OF THE SCENE / LOCATION:

The location of the crime is 108 North Genesee Street, Genesee Borough, Potter County, PA. It can be
described as a brick gas station/convenience store, with rows of merchandise inside. The business name is
Kwik Fill.

PHYSICAL EVIDENCE:

Physical evidence at the scene includes surveillance footage of the incident.

SYNOPSIS:

On 07/05/23, PSP Coudersport was contacted by MM. who is the manager of the Kwik Fill, in
regards to a previously occurred retail theft at the business. During inventory check of the store, a carton of
Marlboro Red cigarettes was missing. Upon review of surveillance footage, the incident occurred on 07/03/23.
The suspect was observed taking a carton of cigarettes off the counter that he had not paid for and then left the
store.

INTERVIEW COMPLAINANT: (a )

On 07/05/23 at approximately 1600 hours, {} was interviewed at the scene of the incident.
related the following:

She is the manager of Kwik Fill. At the end of each shift, all of the cigarettes at the store must be accounted for.
Upon inventory check, a carton of Marlboro Red cigarettes was missing. Upon review of the store's surveillance
footage, an unknown white male was paying for his items at the register. When the cashier turned around,

the individual had taken a carton of cigarettes and left the store. The cigarettes retail value is $103.99. The
individual had paid cash for two drinks that he had purchased.

INVESTIGATIVE DETAILS:

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Case 1:23-mr-00469-JLS Document1 Filed 10/27/23 Page 50 of 59

PENNSYLVANIA STATE POLICE

General Offense Report

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Video footage was reviewed that showed the Arrestee taking a carton of cigarettes from the Kwik Fill without
paying for them on 07/03/23 at approximately 1347 hours. The Arrestee left the scene in a white, Chevy
Silverado, NY Registration 27734MK.

Through investigative sources, the Arrestee was identified as Howard HINKLE Jr.

On 07/05/23, a PA Crime Victim/Witness guide was issued to Kwik Fill (See PA Crime Victims Receipt).

On 07/25/23, video surveillance on the incident was received and was entered into evidence(Property Record -
F026982).

On 07/27/23, HINKLE was cited with PA/CC 3929 (a)(1) Retail Theft, Citation # NO152267-3. Charges were
filed through District Court 55-4-01.

ATTACHMENTS:

Victim Witness Guide Receipt- Kwik Fill
Receipt of Stolen Items from Kwik Fill

Property Record - F026982

CONCLUSIONS / RECOMMENDATIONS:

| recommend that this report remains open pending court.

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aay PENNSYLVANIA STATE POLICE

General Offense Report

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Document: 2 - NEWS RELEASE NARRATIVE

Author: 799829 - PORT,B,15298

Related Date/Time: Jul-05-2023 (Wed.) 1659

Subject:
On 07/05/23, PSP Coudersport was dispatched to 108 North Genesee Street, Genesee Township, Potter
County, for a Retail Theft. The Arrestee left the Kwik Fill without paying for a carton of Marlboro Red cigarettes
valued at $103.99. The Arrestee was charged with PA/CC 3929 (a)(1), Retail Theft through District Court

55-4-01.

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PENNSYLVANIA STATE POLICE
General Offense Report

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Assigned on: Jul-27-2023 (Thu.) 833
proved on: 08/22/2023 Approved by: DELP,M,10061

Completed: Yes
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Type: Victim/Witness Assistance Guide Receipt

Description:

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PENNSYLVANIA STATE POLICE

General Offense Report

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|CcXex es O) mae) Un babiCoy uoaYebucoyay

I acknowledge receiving my basic rights as a crime victim
and information on related services available to me.

23 -B%6ll]

INCIDENT NUMBER —

(The completed and signed copy of this form
shall be retained by Law Enforcement.)

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PENNSYLVANIA STATE POLICE

General Offense Report

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Type: Other

Description:

KWIK FILL #408
108 N. GENESEE St
GENESEE, PR 16923

814-228-3403

020 CASHIER 10 Store: 0408
*xx Duplicate 3
Register # 02, Recelpt#: 74500

MERCHANT COPY
bled Jul 05 2023 16:59:19

ID CHK TOBACCO-08-09-1960 SCANNED:

MARLBORO BOX USD 10.067X
028200003577
MARLBORO BOX USD 9,567TX
028200003577
MARLBORO BOX USD 10.06TX
028200003577
MARLBORO BOX USD 9.56TX
028200003577
MARLBORO BOX USD 10.06TX
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MARLBORO BOX USD 9,56TX
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MARLBORO BOX USD 10.04TX
028200003577
MARLBORO BOX USD 9.56TX
028200003677
MARLBORO BOX USD 10.067X
028200003877
MARLBORO BOX USD 9.56TX
028200003577

- Sale Total USD 98.10

6.00% $5,886

Tax Total! USD 5.89
Total USD 103.99
Cash USD 103.99

HOW ARE WE DOING?
800-443-3523 X4834

FOR QUESTIONS & COMMENTS
PLEASE CALL
1-800-443-3523 EXT 4834

Items 10

Go to TOC For Official Use Only Printed On Oct-27-2023 (Fri.) | For 610506 Page 12 of 17
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Case 1:23-mr-00469-JLS Document 1

Filed 10/27/23 Page 55 of 59

31.CLAIMANT'S NAME

SP 7 - 007 PENNSYLVANIA STATE POLICE
PROPERTY RECORD
4, STATUS 5. OFFENSE 6. STATION/DISTRICT OFFICE ik
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7. SUBMITTING OFFICER BADGENO. | 8, RECEIVING OFFICER BADGENO. | 8, DATE TIME q
TPR BROCK W PORT 15298 TPR RICHARD T OBERMEYER 14425 7/25/2023 0700 2
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40. INVESTIGATING OFFICER BADGENO. | 41. SIGNATURE OF RECEIVING OFFICER 9
TPR BROCK W PORT 15298 2
3
42, FOUND OR RECOVERED FROM ADDRESS TELEPHONE NO. LOCATION 43. DATE TIME 3
KWIK FILL 108 NORTH GENESEE ST, GENESEE , PA 16923 814-228-3660 GENESEE TOWNSHIP 7/25/2023 0700 5
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14, CODES STORAGE AREA DISPOSITION OVAL xs
4. PROPERTY ROOM 5, IMPOUND LOT | 1, DESTROYED 5, DONATED 9. TRANSFERRED : 1. CUSTODY 2
2. SAFETY DEPOSITBOX 6. OTHER DEPT. FACILITY: 2. ESCHEATED 6. FORFEITURE 10. FWD TO DHQ + 2) COURT PEON OTCEIMEORACE: 6 SNRSTISATION o
3. EXPLOSIVE MAGAZINE 7. NOT APPLICABLE ' 3, EXPENDED IN LABORATORY 7. OTHER 41. FWD TO FSU : 3, LABORATORY >. Eine DigpOetNeny ae 8
4. NON- DEPARTMENT | 4, RELEASED TO OWNER/FINDER — 8, CONVERTED TO DEPT. USE 1 4, OTHER ‘ %
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22. PROPERTY | 23. 24, ITEM 25. 26. CUSTODIAL |27. 28, ESTIMATED |29. COMPUTER | ©
DATE & TIME NO.{S) OFFICER'S SIGNATURE/BADGE NO. OFFICER'S REMOVAL CODE, LOCATION & REMARKS DATE OF ENTRY z
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30. | HEREBY CERTIFY THAT | AM THE OWNER OF PROPERTY OR AUTHORIZED AGENT TO RECEIVE ITEM(S) NO. co
NO
OWNER'S NAME ADDRESS TELEPHONE NO.

32. CLAIMANT'S SIGNATURE

OWNER'S SIGNATURE

DATE

33, PICS APPROVAL NO.

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Case 1:23-mr-00469-JLS Document1 Filed 10/27/23 Page 56 of 59

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PENNSYLVANIA STATE POLICE

General Offense Report

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exe} [Coy Ya Ul ols X=) ofo) a at: 72
| Assigned to: 799829 - PORT,B,15298 Assigned on: Aug-22-2023 (Tue.) 1313
Completed: Yes | Approved on: 09/29/2023 Approved by: DELP,M,10061

Narrative Text #1

Document: 3- OFFICER NARRATIVE
Related Date/Time: Sep-23-2023 (Sat.) 1503

Subject:
Case Update:

On 08/09/23 HINKLE plead guilty to PA/CC 3929 (A)(1), Retail Theft.

Conclusions / Recommendations:

| recommend this report remains open pending processing of the defendant.

Go to TOC For Official Use Only Printed On Oct-27-2023 (Fri.) For 610506 Page 14 of 17
Case 1:23-mr-00469-JLS Document1 Filed 10/27/23 Page 57 of 59

General Offense Report

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Narrative Text #2

PENNSYLVANIA STATE POLICE

Document: 7-TEXT TEMPLATES
Related Date/Time: Sep-23-2023 (Sat.) 1516

Subject: NON TRAFFIC CITATION DISPOSITION
Non Traffic Citation Disposition

RMS Form Name: NON TRAFFIC CITATION DISPOSITION
Version: 06
Published: 06/08/2020

Adjudication Date: Aug-09-2023
Investigator: PORT,B,15298
Citation Number: N0152267-3
Related Arrestee:

Or
Business Arrestee:

MDJ Number (No Dashes Ex. 23303): 55401

Adjudication:
1 - NON APPEARANCE PAID FINE AND COSTS
2 - FOUND GUILTY
3 - FOUND NOT GUILTY
X 4-PLED GUILTY
5 - DISMISSED
6 - ACCELERATED REHABILITATIVE DISPOSITION (ARD)
7 - PROSECUTION WITHDRAWN
8 - VOIDED
9 - NOLLE PROSSE

Adjudication Reason
If Adjudication Code of 3, 5, 7, 8 or 9 ls Selected, Complete This Section:

Additional Comments

*** End Of Template ***

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PENNSYLVANIA STATE POLICE

General Offense Report
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lare} Co)" MO) ola nX-) eLo) a ar 36)
Assigned to: 643889 - TRICK,M,13606 Assigned on: Aug-28-2023 (Mon.) 2006
Completed: Yes | Approved on: 08/30/2023 Approved by: MAGGS,R, 12646

Narrative Text #1

Document: 3 - OFFICER NARRATIVE
Related Date/Time: Aug-28-2023 (Mon.)

Subject: VIDEO FILED

On 08/28/23, | received the MASTER CD containing video surveillance for this incident. The master disc will
remain at Troop F Headquarters until this case is terminated and the disc can be destroyed.

This concludes this Troopers involvement with this incident.

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PENNSYLVANIA STATE POLICE
a General Offense Report

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Property Case Status: STOLEN Related items: 1

Submitted on: Jul-05-2023 (Wed.) Submitted by: 799829 - PORT,B,15298

Related Item(s):

Articles

IBR CODE: 08

TYPE: Items listed under Y or not listed in Article Name Dictionary
ITEM: CIGARETTES/CIGARD

COLOR: Red, White

SERIAL #: NA

VALUE: $103.99

# OF PIECES: 1

DESCRIPTION: CARTON OF MARLBORO RED CIGARETTES
RECOVERED VALUE: $0.00

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